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                         JAMS CASE REFERENCE NO. 1200048059


In re: U.S. ASR Hip Settlement,


                                 SCHEDULING ORDER NO. 1


       1.      Parties and Counsel. The parties to this proceeding attended the hearing and are
represented as follows:


Ashleigh E. Raso                                     Tom Needham
Meshbesher & Spence                                  Steven John son
1616 Park Ave.                                       Johnson Law Firm
Minneapolis, MN 55404                                3116W. Fifth St.
612-339-9121                                         Ft. Worth, TX 76107
araso@meshbesher.com                                 817-523-1330
Representing: William S. Drake                       johnsonneedhamlaw@gmail.com


       2.      Special Master:
               Cathy Yanni
               JAMS
               Two Embarcadero Center
               Suite 1500
               San Francisco, CA 94111
               415-774-2635 415-982-5287(fax)

       3.      Case Coordinator:
               Tina Oja
               JAMS
               Two Embarcadero Center
               Suite 1500
               San Francisco, CA 94111
               415-774-2627 415-982-5287(fax)
               toja@jamsadr.com

         4.     Agreement to use Special Master Cathy Yanni is contained in Master Settlement
Agreement. Special Master Cathy Yanni was appointed by the Honorable David Katz. The
Settlement Agreement contains a provision, Section 1.2.55, which we have interpreted to mean
that attorney representation disputes should be referred to a Special Master in circumstances such
as these. Section 1.2.55 defines "Primary Law Firm" and says that "if two or more lawyers or
law firms are designated as the Primary Law Firm, any dispute that cannot be resolved by the
Counsel may be submitted to the Special Masters for review and resolution." Section 3.2.3.2

                                                                                        EXHIBIT

                                                1
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reiterates this, saying "any dispute over representation that cannot be resolved by the law firms
may be submitted to the Special Masters for review and resolution."

Separately, Section 12.4.2 says that the Special Masters are appointed to oversee the
administration of claims and to make "final and binding determinations under this Agreement
with the authority of an Arbitrator under the Federal Arbitration Act."

         5.    Exchange of Information.

       (a)     The Special Master Orders that by February 22, 2016, the Johnson Firm shall
provide claimants with description of the amount in controversy and a summary of the issues.
The firm shall also provide a copy of the contract between Mr. Drake and the Johnson Law Firm.
The firm shall also submit a copy of the statement of attorney fees and costs and backup.

      (b)    Mr. Drake and Counsel shall by February 29, 2016 submit a response to the
Johnson Law Firm submission and submit her own summary of the issues.

         (c)    Special Master Yanni will review the submissions and, if necessary ask for
clarification and/or additional documentation.

         6.    Hearing Procedure.

         (a)   The Telephonic Hearing, lasting not more than two hours, shall be conducted
               prior to March 15, 2016 and is to be coordinated through the Case Manager.

         (b)   The parties shall exchange all information they intend to offer at the hearing no
               later than 5 days prior to the hearing.

         7.    Miscellaneous.

         (a)   Documents shall be served on JAMS through the Case Coordinator Tina Oja
               via email at tojajamsadr.com.

        (b)    All deadlines herein shall be strictly enforced. This Order shall continue in effect
unless and until amended by subsequent order of the Special Master.



Dated:
                                                       th
                                                     Special M ster




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